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                            IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                       NORFOLK DIVISION

 UNITED STATES OF AMERICA                       )
                                                )       CRIMINAL NO. 2:19cr47
                 v.                             )
                                                )
 AGHEE WILLIAM SMITH,                           )
                                                )
               Defendant.                       )

 GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT SMITH’S MOTION TO
           PRECLUDE ADMISSION OF DEPOSITION TESTIMONY
                   UNDER CONFRONTATION CLAUSE

         The United States, by its undersigned counsel, hereby responds to defendant Smith’s

 motion to preclude admission of Rule 15 deposition testimony under the Confrontation Clause.

 ECF No. 224. As this Court is aware, the government, pursuant to FED. R. EVID. 15, moved for

 an order allowing it to take the pretrial depositions of six witnesses who are unavailable for trial.

 ECF No. 217. The Court entered an order allowing these depositions. ECF No. 218. Smith

 objects to the admission of the depositions of victims V.H., S.B., and K.S. on the ground that the

 government purportedly failed to show these witnesses were unavailable. ECF No. 224 at 2. To

 the contrary, these witnesses are demonstrably unavailable, and their testimony should be

 admitted at trial.

         The government has alleged that Smith and his co-conspirators targeted elderly victims –

 exactly the individuals for whom travel and testimony in the midst of a global pandemic are most

 difficult, even if they do not suffer from other debilitating conditions, as the three witnesses at

 issue here do. Numerous potential witnesses have died or entered into the long decline of

 dementia while this case has been pending. Smith’s argument that the Confrontation Clause now
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 also bars the testimony of the frail and elderly victims he targeted who are unable to travel for

 this trial is an attempt to gain a strategic advantage based on the frailties of the victims he

 selected. It is also legally and factually incorrect, and the Court should deny the motion. In

 support, the government avers the following.

 I.     BACKGROUND FACTS

        This case involves two schemes to defraud primarily elderly investors in connection with

 the sale of purported dental franchises and applications for spectrum licenses. The schemes

 started in January 2011 and continued up until at least August 2017. The defendants were

 indicted in March 2019, but due to the complexity of the case and the COVID-19 pandemic, the

 trial was continued to November 16, 2021.

        As discussed in the government’s motion to take pretrial depositions under FED. R. CRIM.

 P. 15, numerous material witnesses are unavailable to testify at trial due to the COVID-19

 pandemic, various physical and mental illnesses, and obligations as primary caretakers to elderly

 spouses. ECF No. 217. Prior to the filing of the motion, the government contacted all defense

 counsel to ask their position on the request for the depositions. Ex. A., October 20, 2021, Email

 to Counsel re: Depositions. Two days later, the government followed up with counsel for

 defendant A.W. Smith (Smith) to again request their position. Ex. B, October 22, 2021, Email to

 Smith re: Depositions. Smith’s counsel responded but did not provide their position, instead

 asking whether the government would agree to deposing three of Smith’s witnesses at the same

 time. Id. The government immediately responded and asked for additional information

 concerning the unavailability of the witnesses. Id. Having not heard an answer from Smith’s

 counsel, the government reached out to them again on October 25, 2021, for their position on the

 depositions. Ex. C, October 25, 2021, Email to Smith re: Depositions. Smith’s counsel finally



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 responded that they would take no position on the motion for depositions at that time. Id. With

 that background, in good faith, the government filed its motion to take the depositions as

 unopposed. ECF No. 217. The government was unaware of any alleged miscommunication

 until Smith filed his motion to exclude the admission of the three depositions of his former

 clients. ECF No. 224 at 1-2.

          The Court granted the government’s motion on October 27, 2021, to allow the pretrial

 depositions of victims R.C., S.B., V.H., K.S., P.Y., and B.B. ECF No. 218. In its order granting

 the motion, the Court made a finding that “there is a substantial likelihood that the witnesses’

 attendance at trial … is not possible due to the witnesses’ age and health conditions.” ECF

 No. 218 at 1. Pursuant to that order, on November 5, 2021, the parties conducted videotaped

 depositions of S.B., V.H., K.S., and P.Y. in Sacramento, CA. On November 8, 2021, the parties

 conducted a videotaped deposition of R.C. in Pocatello, ID. 1 If they so chose, the parties were

 all able to attend the depositions in person, at the government’s expense. Smith and one of his

 attorneys chose to attend the Sacramento depositions in person, and the government provided all

 travel-related expenses for them. Because the depositions were also streamed virtually, the

 remainder of the defendants and/or their counsel chose the option to virtually participate in the

 depositions. All of the defendants chose the option to participate virtually in the deposition of

 R.C. in Pocatello.

 II.      RULE 15 PRETRIAL DEPOSITIONS AND THEIR ADMISSION AT TRIAL ARE
          CONSTITUTIONAL

          Smith moves to exclude the depositions of S.B., V.H., and K.S., 2 arguing that playing

 them at trial would “violate the Confrontation Clause of the Sixth Amendment.” ECF No. 224 at


 1
     The government chose not to depose victim B.B., who is recovering from recent heart surgery.
 2
     Without explanation, Smith does not oppose the admission of the other depositions.
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 2. Specifically, Smith claims that the government failed to show that the witnesses are

 unavailable to testify in person at trial. None of that is correct. Smith and his counsel took the

 opportunity to confront the witnesses in person, the witnesses are demonstrably unavailable for

 trial, and there is no constitutional impediment to admitting the depositions at trial.

        A. Smith’s rights of confrontation have been preserved by virtue of his direct
           participation in the depositions, the witnesses are unavailable for trial, and the
           deposition testimony is admissible.

        The Confrontation Clause of the Sixth Amendment bars the admission of “testimonial

 statements of a witness who did not appear at trial unless he was unavailable to testify, and the

 defendant had had a prior opportunity for cross-examination.” United States v. Dargan, 738

 F.3d 643, 650 (4th Cir. 2003) (quoting Crawford v. Washington, 541 U.S. 36, 53–54 (2004)).

 However, FED. R. EVID. 804(b) provides, as an exception to the rule against hearsay, that an

 unavailable witness’s former testimony at a lawful deposition is admissible at trial where the

 party against whom the testimony is offered had an opportunity to cross-examine the witness.

 FED. R. EVID. 804(a)(5)(A) provides that a witness is “unavailable” where the proponent of the

 witness’ testimony “has not been able, by process, or other reasonable means, to procure the

 declarant’s attendance.” The Supreme Court has held that there is no violation of the Sixth

 Amendment right to confrontation when “testimonial evidence” is offered where the witness

 providing the testimony is unavailable and the person against whom the evidence is offered has

 had a “prior opportunity for cross-examination.” Crawford v. Washington, 541 U.S. 36, 68

 (2004). The Supreme Court has further held that “a witness is not ‘unavailable’ for the purposes

 of the … confrontation requirement unless the prosecutorial authorities have made a good-faith

 effort to obtain his presence at trial.” Barber v. Page, 390 U.S. 719, 724-25 (1968). That is




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 exactly what Rule 15 contemplates in stating that the parties may “move that a prospective

 witness be deposed in order to preserve testimony for trial.” FED. R. CRIM. P. 15(a)(1). While

 Rule 15 does not independently determine admissibility, see FED. R. CRIM. P. 15(f), it works in

 conjunction with Rule 804 to allow the preserved testimony of unavailable witnesses to be used

 at trial.

             Smith takes no issue with the fact that he had was given the opportunity to cross-examine

 the witnesses at the depositions. Indeed, Smith and his counsel appeared at the depositions in

 person and questioned the witnesses at length. Smith only argues that the government has failed

 to establish that the witnesses are “unavailable” as contemplated by FED. R. EVID. 804(a)(5)(A)

 and the Confrontation Clause. As discussed herein and affirmed in the Declaration of Inspector

 Jason W. Thomasson (attached as Exhibit D), witnesses V.H., S.B., and K.S. are all unavailable

 to testify at the upcoming trial.

             i.     COVID-19 has made it extremely difficult, if not impossible, to secure the
                    appearance of some witnesses.

             First and foremost, the COVID-19 pandemic has caused the unavailability of certain

 witnesses at trial, including those at issue here. As this Court has recognized in its General Court

 Orders, the COVID-19 pandemic is a serious and dangerous reality. The United States alone has

 seen over 46 million cases and over 750,000 deaths due to the virus. See

 https://covid.cdc.gov/covid-data-tracker (last visited November 10, 2021). There is an increased

 risk to older adults, and they are “more likely to get very sick from COVID-19.” See

 https://www.cdc.gov/aging/covid19/covid19-older-adults.html. While a person can get

 vaccinated to help protect themselves, the risk of infection persists. Further, the Delta variant is

 more infectious and has led to increased transmissibility, even in vaccinated individuals. See

 https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-


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 variant.html?s_cid=11504:does%0the%20covid%20vaccine%20protect%20against%20the%20d

 elta%20variant:sem.ga:p:RG:GM:gen:PTN:FY21. Only approximately 68% of the population of

 the United States have received at least one dose of the vaccine. See

 https://www.nytimes.com/interactive/2020/us/covid-19-vaccine-doses.html (last visited

 November 10, 2021). Even more concerning is that only 64% of Virginians and 49% of those in

 the City of Norfolk are vaccinated against the virus. See

 https://www.nytimes.com/interactive/2021/us/virginia-covid-cases.html (last visited November

 10, 2021). The Center for Disease Control (CDC) also warns that long airline travel that

 involves layovers “may make you more likely to get COVID-19.” See https://www.cdc.gov/

 coronavirus/2019-ncov/travelers/travel-risk.html.

        All of these circumstances surrounding the pandemic support the Court’s finding that the

 relevant witnesses are unavailable for trial. All of the witnesses at issue – V.H., S.B., and K.S. –

 are older and, therefore, at higher risk of severe infection and hospitalization should they be

 infected with COVID-19. Ex. D, ¶¶ 5, 12, 19. Further, all of the witnesses live in the

 Sacramento, California, area. Id. Therefore, none of the witnesses can appear at trial without a

 7+ hour flight that would include at least one layover. Further, the witnesses have expressed

 their unwillingness to put themselves at further risk of exposure to COVID-19 by making the

 trip. Thus, these witnesses are unavailable for trial.

        ii.     The witnesses are unavailable due to health and other considerations.

        Beyond the COVID-19 pandemic issues, each of the witnesses has other medical,

 psychological, or care-based issues making them unavailable to travel and appear at trial.

        V.H. is 73 years old. Ex. D, ¶ 5. She lives with her husband, S.H., who is legally blind

 and in the early stages of dementia. Id. V.H. is unable to drive long distances. Id. at 8. When



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 the government informed V.H. she was going to have to attend and testify at the November 16,

 2021, trial of the defendants in Norfolk, Virginia, V.H. stated she was not able to travel to

 Norfolk for the trial. Id. at ¶ 6. She is the sole caretaker of her husband, S.H., and there is no

 one else available to assist. Id. Postal Inspector Jason W. Thomasson personally met V.H. and

 S.H. and, based on his observations, affirmed V.H.’s assertions about her unavailability to attend

 trial. Id. at 7.

         S.B. is 81 years old. Ex. D, ¶12. She medically retired from working at a telephone

 company due to a complete mental breakdown. Id. She continues to have extreme, crippling

 anxiety that makes her unable to travel. Id. S.B. is unable to drive long distances. Id. at 15.

 When the government informed S.B. she was going to have to attend and testify at the trial of the

 defendants in Norfolk, S.B. stated she was not able to travel to Norfolk for the trial because her

 extreme anxiety prevents her from traveling. Id. at 13. Inspector Thomasson personally met

 S.B. and, based on his observations, affirmed S.B.’s assertions about her unavailability to attend

 trial due to her anxiety. Id. at 14. He further saw that she had limited mobility. Id.

         K.S. is 64 years old. Ex. D, ¶ 19. When the government informed K.S. he was going to

 have to attend and testify at the trial of the defendants in Norfolk, K.S. stated he was not able to

 travel to Norfolk for the trial. Id. at ¶ 20. K.S. suffers from extreme vertigo that prevents him

 from flying. Id. In addition, his wife recently was in an accident and was severely injured. Id.

 He is the sole caretaker of his wife at this time, and there is no one else available to assist. Id.

 For these reasons, K.S. is unable to travel to Norfolk.

 III.    CONCLUSION

         As discussed above, the government has made a good faith effort to secure witnesses

 V.H., S.B., and K.S. at trial. However, due to the COVID-19 pandemic and other conditions



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 discussed above, these witnesses are unavailable to appear at trial. Defendant Smith and his

 counsel personally confronted and cross-examined each of these witnesses. Therefore, their

 lawful depositions should be admissible at trial, and defendant’s motion to exclude should be

 denied.


                                             Respectfully submitted,

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                                             United States Attorney

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 10, 2021, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

 (NEF) to all counsel of record.




                                             By:         /s/____________
                                             Elizabeth M. Yusi
                                             Assistant United States Attorney




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